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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW HAMPSHIRE

*************************************
William Soler Justice,              *
                                    *
               Plaintiff,           *
       v.                           *                           Civil No. 1:20-cv-00517-PB
                                    *
Christopher T. Sununu, et al.,      *
                                    *
               Defendants.          *
                                    *
*************************************

                  DEFENDANTS’ ASSENTED-TO MOTION TO SET DEADLINES

         Defendants, by and through counsel, the New Hampshire Office of the Attorney General,

hereby submits the following Motion to Set Deadlines, stating as follows:

         1.        The Court continued the Status Conference on May 14, 2025 for Plaintiff’s

guardian to attend, and instructed the parties to confer regarding deadlines prior to the next

Status Conference. Defendants conferred by email with Plaintiff and his guardian regarding

proposed deadlines on May 28, 2025, and Plaintiff and his guardian confirmed that they agree

with the proposed deadlines, as follows:

              •    Deadline to serve additional discovery requests (limited to newly-added

                   defendants)– 7/1/2025

              •    Deadline to depose Plaintiff – 7/30/20251

              •    Plaintiff’s expert disclosure – 7/15/2025

              •    Defendants’ expert disclosure – 9/1/2025

              •    Expert deposition completion deadline– 10/1/2025

1
  The parties have tentatively agreed to schedule the deposition for July 9, 2025, but the parties have not agreed on a
location. The Defendants are proposing to host the deposition in a conference room at the NH DOJ office in
Concord or remotely. Plaintiff has indicated that he does not agree to be deposed at the NH DOJ office but has not
proposed an alternative location.
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           •   Motion for Summary Judgment deadline – 11/3/2025

           •   Objection to MSJ – 12/3/2025

           •   Reply to Objection to MSJ – 12/17/2026

       WHEREFORE, Defendants respectfully request that this Court grant this Motion and set

the foregoing deadlines in this matter.

                                               Respectfully submitted,

                                               THE OFFICE OF THE ATTORNEY GENERAL

Dated: June 3, 2025                            /s/ Catherine A. Denny
                                               Catherine A. Denny, Bar #275344
                                               Assistant Attorney General
                                               Civil Bureau
                                               NH Department of Justice
                                               1 Granite Place South
                                               Concord, NH 03301
                                               catherine.a.denny@doj.nh.gov
                                               (603) 271-1354


                                 CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was mailed to Plaintiff at 51 Storrs St., #310,
Concord, NH 03301 on this same date.



Dated: June 3, 2025                            /s/ Catherine Denny
                                               Catherine A. Denny




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